                         Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 1 of 18

  UNITED STATE- DISTRICT COURT
  E       DISTRICT OF PENNSYLVANIA


·- -   ~   ....   -
           (In t 1e space above enter the full name(s) of the plaintiff(s).)
                                                                                                15              5448
                                     - against -

                                                                                                COMPLAINT
                                      \'             ~


       ~ks G'"'Yl\u"t?ioc,trl 0£ CoccrGti'*1                                                          under the
                                                                                          Civil Rights Act, 42 U.S .C. § 1983
       :lC\...-,ltle.. Q.u\~\e.l{ ( Wttrden)                                                     (Prisoner Complaint)

       C,o Fin\(
                                                                                             Jury Trial:   refves   D No
                                                                                                              (check one)




  (Jn the space above enter the full name(s) of the defendant(s). If you
  cannot fit the names of all of the defendants in the space provided,
  please write "see attached " in the space above and attach an
  additional sheet ofpaper with the full list of names. The names
  listed in the above caption must be identical to those contained in
  Part I. Addresses should not be included here.)


  I.                  Parties in this complaint:

  A                   List your name, identification number, and the name and address of your current place of
                      confinement. Do the same for any additional plaintiffs named . Attach additional sheets of paper
                      as necessary .

  Plaintiff




  Rev. 1012009
               Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 2 of 18
B.        List all defendants ' names, positions, places of employment, and the address where each defendant
          may be served . Make sure that the defendant(s) listed below are identical to those contained in the
          above caption. Attach additional sheets of paper as necessary.

Defendant No I                                                                              Shield#_ _ __
                            Where Currently Employed _ _ _ _ _ _ _ _ _ _ _ __ __ _ __

                            Address                    We l.£~ roe...~
                                      I :l... '07 U>\Ank
                                      Le.e~f'0~\- 1 Pt\ \453~
Defendant No. 2




Defendant No . 3




Defendant No. 5




II.       Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A         In what mst1tut1on did the events giving nse to your cla1m(s) occur?     l?.e«·\c..s Cou rl\~
      :)~\\ 51..\s\evn
B         Where in th; institution did the events giving rise to your claim(s) occur?      t t\C(". dt~t
                                                                                         ti 1'.tl
~ 0-1\ -:S ~\oc.,\c._ \h ~u('ot>W'\ <A~6 \~e, c;....-ec.ov)d on :I: Q»ac.k_
1n ce\\ \\fl. ~"'6 -\-he ~rom'Y'l ,
C.  What date and approximate time did the events giving rise to your claim(s) occur? ~' ;)S• 16 {0) ~ ~ d.5'Of'   5' pm
                                                                                           O.Y\~ CJ"q"\S@ ll~OOpM
Rev. 1012009                                         - 2-
                                                                            Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 3 of 18




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   anyone
    else

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 involved?




 Who else
 saw what
happened?




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         Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 4 of 18
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                           Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 5 of 18


  What
happened
 to you?




 Who
  did
 what?




   Was
  anyone
   else
involved?




 Who else
 saw what
happened?




            III.      Injuries:




            IV.       Exhaustion of Administrative Remedies :

            The Prison Litigation Reform Act ("PLRA"), 42 USC. § 1997e(a), requires that " [n]o action shall be
            brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a


            Rev. 1012009                                         - 3-
               Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 6 of 18
prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted ." Administrative remedies are also known as grievance procedures.

A         Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility'J

          Yes /No

IfYES , name the jail , prison, or other correctional facility where you were confined at the time of the
events giving ri~.to y~ur claim(s) l        _     .\          \.
                          \t.5    CoLtY'lTV\ \) 0....\           Sk\~eVVl


B.        Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
          procedure'J

          Y e s / No              Do Not Know


c         Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
          arose cover some or all of your claim(s)'J

          Yes        No           Do Not     Know~
          IfYES , which claim(s)'J - - - - - - - - - - - - - - - - - - - - - - - - -


D.        Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose'J

          Yes      VNo
          IfNO, did you file a grievance about the events described in this complaint at any other jail,
          prison, or other correctional facility'J

          Yes        No


E.




          2.        What was the result, if any'J -~~~O~O~~_,.__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          3.        What steps, if any, did you take to appeal that decision'J Describe all efforts to appeal to
                    the highest level of the grievance process. _·~r.....L:!!l..<...---"-'-'c....oOlL.\...--""'µ...u.,,..n;:u_n....!o....___,~,____
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Rev. 1012009                                                     - 4-
               Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 7 of 18




F.        If you did not file a grievance


          I.       Ifthere are any reasons why you did not file a grievance, state them here : _ _ _ _ __




          2.       If you did not file a grievance but informed any officials of your claim, state who you
                   informed , when and how, and their response, if any :_ _ _ _ _ _ _ _ _ _ _ __




G.




         You may attach as exhibits to this complaint any documents related to the exhaustion of your
          administrative remedies.   6~~ ~{\e..~ ~ ·"\f\) "I.. Y\t"'>'Pr ~tiveh.- WI"\_
        1"!,i.·~"Se_ ~~~      \.o $0\•'l~ ~C\t,.\:_ \-o ~'1 sk*-c f'i"\!:iOYl ~ wt1t
       \>~\- "Q,~"j~ ~~~ ~\\\\ fo~~~s i\- \n ~\(.
v.       Relief:                                                           '




Rev. 1012009                                         - 5-
                        Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 8 of 18




         VI.       Previous lawsuits:


         A.        Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                   action'l
  On
these
claims             Yes       No '/
         B.        If your answer to A is YES , describe each lawsuit by answering questions I through 7 below (If
                   there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
                   the same format )

                   I.       Parties to the previous lawsuit:

                   Plaintiff _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   Defendants _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~


                   2.       Court (iffederal court, name the district; if state court, name the county) _ _ _ _ __

                   3.       Docket or Index number----- - - - - - - - - - - - - - - - - -


         Rev. 1012009                                          - 6-
                        Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 9 of 18
                   4.          Name of Judge assigned to your case _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                   5           Approximate date of filing lawsuit _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                   6.          Is the case still pending')       Yes _ _ No _ _

                               IfNO, give the approximate date of disposition _ _ _ _ _ _ _ _ _ _ _ _ _ __

                   7.          What was the result of the case? (For example Was the case dismissed? Was there
                               judgment in your favor? Was the case appealed?) _ _ _ _ _ _ _ _ _ _ _ _ __ _




          c.        Have you filed other lawsuits in state or federal court'J

                           ~o
  On
other               Yes
claims

          D.        If your answer to C is YES , describe each lawsuit by answering questions I through 7 below. (If
                    there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                    the same format.)

                   1.          Parties to the previous lawsuit:

                   Plaintiff       \\\P.'11\ri C.Q...   \,Jj \)L1,., S
                   Defendants        \J~ C...       Def\, 0£             C..OV'V't'   t\ \Cw1.S
                   2.          Court (if federal court, name the district; if state court, name the county)                           &ten X 1 ~'[
                   3.          Docket or Index number               d.ort\ t"e.W"iev..Ji>eY-
                   4.          Name of Judge assigned to your case                    0.C>Y\,\- 'i'e.W1ember
                   5.          Approximate date of filing lawsuit                Cvm\- f'e.IN>em her
                   6.          Is the case still pending'J       Yes _ _ No       ~
                               IfNO, give the approximate date of disposition                     dc,n\             >('e)"Vl't"'Ynkc

                   7.          What was the result of the case? (For example : Was the
                               judgment in your favor? Was the case appealed'J)                         X                                              •0
                                                                                                  --.:=---=-i._._.""--'----<..:::...:...,.+--'f'J<-1-'~-""-----=-




         I declare under penalty of perjury that the foregoing is true and correct.

         Signed this    ;}.g   day of      Sep\o)l']bey-                                  ' 20    i5'

                                                                    Signature of        Plaintiff~                            •    ;~
                                                                             Inmate Number              /<Z 8'3 40
         Rev. 1012009                                                     - 7-
               Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 10 of 18
                                                       Institution Address   $ L ,I
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Note      All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
          their inmate numbers and addresses .




I declare under penalty of perjury that on this 9--..<6'"" day of   Scp\-ewi\oet'"'         , 2015:._, I am delivering
this complaint to prison authorities to be mailed to the Clerk 's Office of the United States District Court for the
Eastern District of Pennsylvania




                                                    Signature of Plaintif~




Rev. 1012009                                            - 8-
                                                                            BERKS
                                                        Case 5:15-cv-05448-JHS  Document  3. Filed
                                                                                  COUNTY JAIL SYSTEM ... '\
                                                                                                   10/09/15 Page 11 of 18
                                                                                                           INMATE GRIEVANCE FORM

              Inmate            Name~P)~tA=V.~1'_\c,~e.~W~i_\\_<.~\!\.,S~---------
                                                                        ·- ......                                       ·
                                                                                                                                                        BCP#        IJ...)obb4                                 Cell    .D ~()(5
                                                                                                                                   I   ...~
                                                                                                                                                                                                               Date    8• ;2.:j,~ J)
                                                                              Instructions: Refer to the inmate handbook f or information on the inmate grievance system.
  ~--!"'-~-~-":"..;."£'"<!:..Yi...:.-.     ~..--   ·--:::~- .......... -~   .... _.,.;;_-__ .,.,....._~~-.:.-.:.-;;;';_ ...,.;-~...-:::-- ~-~~~,.-,.---.. - .. -~ ....... .....__......     __._.,,,   -
                                                                                                                     Administration Use Only

                 0     Does not fit criteria for an emergency/sensitive grievance                                           0   Form is incomplete                          0    Resubmit on proper form

                                                                       D      Lacks details                                                       D   Must be completed in English
                                  ....
                Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations_Jlnd witnesses.)
                                     .                                                                                                                                                                         /


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             Original: Treatment File                                Canary: Return to inmate with response                                                                                                        FORM#REC120 (REV2/IO)
                                                                                                                                     BERKS COUNTY PRISON ---- - -~
                                        Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 12 of 18
                                                          MISCOND~,~T CITATION
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 Inmate        Name · -~'~··1; ~\~~~·~·~__,i+-~~~t!li~'l>.~1l§'~Jl!!jlit!i~:z::..~:__ _;_.t~t_2;:==-..:.:·">~l!...:,._2::
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  Class              #                                                                         Offense                                                                        Class               #                                                   Offense

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 Officer Report
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                                                                                                                                                                                  I   Officer Signature                                  _,:;; ., ,., · 0    ,,                 {-I       ('::. ~ .-...
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Actions Pending Disposition
D Subject Locked In Own                                                  Cell .                                                                                               D Warning Is Issued
~ Subject Transferred To                                                         1) 725_.                                                                                     D Material(s) Confiscated
D Subject Removed From                                                   Job Assignment.


Witnesses




Inmate Notification                                                                                                                                                           Supervisory Review
Copy De livered To Inmate By                                                                                                                                                                              <.-.: l      l
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In ma te    Signatu re ~~--                                                                                                             -                                     0       Notation
                                        '"                                        (Acknowledges Receipt of Copy)

                                                                    White Copy - Treatment                                                            Conary : Captain                                Pink Copy - Inmate                                                                 #209-REC-4                .
                                                                     BERKS COUNTY PRISON
                                                Case 5:15-cv-05448-JHS  Document 3 Filed 10/09/15 Page 13 of 18
                                                                                                                                    MISCONDUCT CITATION

      Inmate Name _ ,J:::....!..,-'-'\                  \<~=-·~_-,___:.:.\~. :. ;_;:"-.;. .-": . .r:._._.... ..o.'!_
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      Incident Locat ion                                                                                                                                                                                                                                                              Time _ _! _c_                         <.._ ·'.J
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      Citation

       Class                  #                                                                Offense                                                                             Class                        #                                                       Offense




     Officer Report
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     Actions Pending Disposition
     D Subject Locked In Own Cell.
    W Subject Transferred To                                               !") ?                 0.5 .
     D Subject Removed From Job Assignment.

     Witnesses



     Inmate Notification
    Copy De li vered To Inmate By
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    Name --'--
             ' _ ,_._ . _...._ _ _ _ _                                                   Date . ~' Time                                               _ , _. _, _
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    Staff Witness                                             .·.                                                                                                                  D) nformally Adjusted
                                        ~                                 -              .             ~                                                                           ~ Referred To Disciplinary Comm i ttee
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                                                                    White Copy - Treatment                                                                     Canary - Captain                                     Pink Copy - Inmate                                                                              #209-REC-4              •
                                                                                           BERKS COUNTY PRISON
                           Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 14 of 18
                                             MISCONDUCT CITATION

 Inmate Nome          ___,,
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 Incident Location                -r""           \       (•      ,,.1 ,..,   v          ,t<., ( (""                                                                                Time __l _I~
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    Class       #                                               Offense                                                    Class                   #                           Offense

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                                                                                                                                   I   Officer         Signature~- ~
Actions Pending Disposition
0    Subject Locked In Own Cell .                                                                                              0       Warning Is Issued
[l)/Subject Transferred To                       {) -         d l L\                                                           0       Moteriol(s) Confiscated
0    Subject Removed From Job Assignment.                                                                                      0       Other           Action - - - - - - - - - - - - - -

Witnesses




Inmate Notification
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Name        ~r ,//_,,.~        Dote ~/.~- Time                                                     /    i ·':t(                Shift e ommander Sl ~natu re

Stoff    Witness  ~L,, t IL,1 ; f ,c-                                                                                      0           Informally Adjusted'
                          .'?t/Y .                       •/          .       _,,,,.,.                                      Q" Referred To Disciplinary Committee
                 K-7,
Inmate Signature ._..,.__·_J.7:_·.'1.,.,.-
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                       Case 5:15-cv-05448-JHS Document 3 Filed 10/09/15 Page 16 of 18

                                          BERKS COUNTY JAIL SYSTEM
                                    APPEAL OF INMATE DISCIPLINARY HEARING

INSTRUCTIONS: This form is for appealing a disciplinary hearing decision. Appeals are considered ONLY on the basis
of SPECIFICALLY enumerated facts which may indicate that a Disciplinary Hearing decision was improper. It is not to
be used as a second "hearing opportunity". Unsupported requests for sentence reductions will not be considered. Within
two days of the Hearing Officer's Decision, you or your housing unit officer should place the appeal form in the Inmate
Communication Box located on the Housing Unit.


Inmate Name (hcqulcf" L\)1                \kin S                     BCJ#      J   ~)O&&LJ   Today's Date   '8'~ ;zft.-J5
Housing Unit and Cell #__._D~a--'>-o=----<0£_______ Date of your Hearing                         t' J.-l' l ~
Provide a briefreason (s) for your appeal. (Use the other side of this form if necessary):




 \\SBERKS2 1\Prison\Users\Fonn   ustody\Hearing Officer Forms   ate isciplinary appeal.doc

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                                           Case 5:15-cv-05448-JHS
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                                                                    COUNTY JAIL     10/09/15 Page 17 of 18
                                                                                SYSTEM
                                                                                                  INMATE GRIEVANCE FORM

                                                                                                                                                    BCP#              lajObe/-f                                     Cell                ,D :2o5'
                                                                                                                                                                                                                     Date               t   1   B.1,/5'
                                                               Instructions: Refer to the inmat~JJ_andbook for information on the inmate grievance system.

                                                                                                           Administration Use Only

                0   Does not fit criteria for an emergency/sensitive grievance                                  0      For m is incomplete                                 0     Resubmit on proper form

                                                       0       Lacks details                                                             0        Must be completed in English




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                        FOR AMINISTRATIVE USE ONLY
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           Original: Treatment File                "Canary: Return to inmate with response
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                         Case 5:15-cv-05448-JHSBERKS
                                                 Document 3 JAIL
                                                     COUNTY  Filed 10/09/15 Page 18 of 18
                                                                 SYSTEM
                                                                                                      INMATE GRIEVANCE FORM


     Inmate Name              Mca"'ric< 'Ni\\<.in.S                                                                                                BCP#     Ia....Jo1i6LI
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       0    Does not fit criteria for an emergency/sensitive grievance
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                                                              0    Lacks details                                                        0     Must be completed in English




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    Grievance Response: ,\                                                   \
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    Grievance
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     Original: Treatment File
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                                                        Canary: Return to inmate with response                                                                                                FORM# REC120 (REV 2110)
